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 4
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 5     SAM BENFORD
 6
 7                                UNITED STATES DISTRICT COURT
 8                               CENTRAL DISTRICT OF CALIFORNIA
 9
       SAM BENFORD,                                 Case No.:
10
                    Plaintiff,                      COMPLAINT FOR INJUNCTIVE
11                                                  RELIEF AND DAMAGES FOR DENIAL
             vs.                                    OF CIVIL RIGHTS OF A DISABLED
12                                                  PERSON IN VIOLATIONS OF
13                                                  1. AMERICANS WITH DISABILITIES
                                                    ACT, 42 U.S.C. §12131 et seq.;
14     LEMON FRESH LAUNDRY, INC.;
       LORRAINE GOLDNER; and DOES 1 to              2. CALIFORNIA’S UNRUH CIVIL
15                                                  RIGHTS ACT;
       10,
16                  Defendants.                     3. CALIFORNIA’S DISABLED
                                                    PERSONS ACT;
17
                                                    4. CALIFORNIA HEALTH & SAFETY
18                                                  CODE;
19                                                  5. NEGLIGENCE
20
21
22
23           Plaintiff SAM BENFORD (“Plaintiff”) complains of Defendants LEMON FRESH
24     LAUNDRY, INC.; LORRAINE GOLDNER; and DOES 1 to 10 (“Defendants”) and
25     alleges as follows:
26     //
27     //
28     //



                                           COMPLAINT - 1
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 1                                                PARTIES
 2              1.   Plaintiff is a California resident with a physical disability. Plaintiff is a
 3     hemiplegic, and is substantially limited in his ability to walk. Plaintiff requires the use of
 4     a wheelchair at all times when traveling in public.
 5              2.   Defendants are, or were at the time of the incident, the real property owners,
 6     business operators, lessors and/or lessees of the real property for a coin laundry
 7     (“Business”) located at or about 2501 E. Cesar E. Chavez Ave., Los Angeles, California.
 8              3.   The true names and capacities, whether individual, corporate, associate or
 9     otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
10     who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
11     Court to amend this Complaint when the true names and capacities have been
12     ascertained. Plaintiff is informed and believes, and, based thereon, alleges that each such
13     fictitiously named Defendants are responsible in some manner, and therefore, liable to
14     Plaintiff for the acts herein alleged.
15              4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
16     times, each of the Defendants was the agent, employee, or alter-ego of each of the other
17     Defendants, and/or was acting in concert with each of the other Defendants, and in doing
18     the things alleged herein was acting with the knowledge and consent of the other
19     Defendants and within the course and scope of such agency or employment relationship.
20              5.   Whenever and wherever reference is made in this Complaint to any act or
21     failure to act by a defendant or Defendants, such allegations and references shall also be
22     deemed to mean the acts and failures to act of each Defendant acting individually, jointly
23     and severally.
24                                   JURISDICTION AND VENUE
25              6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
26     1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
27     seq.).
28




                                                COMPLAINT - 2
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 1           7.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 2     arising from the same nucleus of operating facts, are also brought under California law,
 3     including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 4     54, 54., 54.3 and 55.
 5           8.     Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
 6           9.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 7     property which is the subject of this action is located in this district, Los Angeles County,
 8     California, and that all actions complained of herein take place in this district.
 9                                       FACTUAL ALLEGATIONS
10           10.    In or about December of 2024, Plaintiff went to the Business.
11           11.    The Business is a coin laundry business establishment, open to the public,
12     and is a place of public accommodation that affects commerce through its operation.
13     Defendants provide parking spaces for customers.
14           12.    While attempting to enter the Business during each visit, Plaintiff personally
15     encountered a number of barriers that interfered with his ability to use and enjoy the
16     goods, services, privileges, and accommodations offered at the Business.
17           13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
18     included, but were not limited to, the following:
19                  a.     Defendants failed to comply with the federal and state standards for
20                         the parking space designated for persons with disabilities. Defendants
21                         failed to post required signage such as “Van Accessible,” and
22                         “Unauthorized Parking.”
23                  b.     Defendants failed to comply with the federal and state standards for
24                         the parking space designated for persons with disabilities. Defendants
25                         failed to provide proper van accessible space designated for the
26                         persons with disabilities as there was no access aisle for wheelchair
27                         drop-off.
28




                                              COMPLAINT - 3
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 1                  c.     Defendants failed to maintain accessibility for persons with
 2                         disabilities to comply with the federal and state standards. Defendants
 3                         failed to provide a compliant access route as it did not meet the
 4                         minimum width requirement allowed by the Standards due to the
 5                         bollards installed within the access route.
 6           14.    These barriers and conditions denied Plaintiff full and equal access to the
 7     Business and caused Plaintiff difficulty and frustration. Plaintiff wishes to return and
 8     patronize the Business; however, Plaintiff is deterred from visiting the Business because
 9     his knowledge of these violations prevents him from returning until the barriers are
10     removed.
11           15.    Based on the violations, Plaintiff alleges, on information and belief, that
12     there are additional barriers to accessibility at the Business after further site inspection.
13     Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
14     Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
15           16.    In addition, Plaintiff alleges, on information and belief, that Defendants
16     knew that particular barriers render the Business inaccessible, violate state and federal
17     law, and interfere with access for the physically disabled.
18           17.    At all relevant times, Defendants had and still have control and dominion
19     over the conditions at this location and had and still have the financial resources to
20     remove these barriers without much difficulty or expenses to make the Business
21     accessible to the physically disabled in compliance with ADDAG and Title 24
22     regulations. Defendants have not removed such barriers and have not modified the
23     Business to conform to accessibility regulations.
24                                       FIRST CAUSE OF ACTION
25            VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
26           18.    Plaintiff incorporates by reference each of the allegations in all prior
27     paragraphs in this complaint.
28




                                              COMPLAINT - 4
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 1           19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
 2     shall be discriminated against on the basis of disability in the full and equal enjoyment of
 3     the goods, services, facilities, privileges, advantages, or accommodations of any place of
 4     public accommodation by any person who owns, leases, or leases to, or operates a place
 5     of public accommodation. See 42 U.S.C. § 12182(a).
 6           20.    Discrimination, inter alia, includes:
 7                  a.    A failure to make reasonable modification in policies, practices, or
 8                        procedures, when such modifications are necessary to afford such
 9                        goods, services, facilities, privileges, advantages, or accommodations
10                        to individuals with disabilities, unless the entity can demonstrate that
11                        making such modifications would fundamentally alter the nature of
12                        such goods, services, facilities, privileges, advantages, or
13                        accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
14                  b.    A failure to take such steps as may be necessary to ensure that no
15                        individual with a disability is excluded, denied services, segregated or
16                        otherwise treated differently than other individuals because of the
17                        absence of auxiliary aids and services, unless the entity can
18                        demonstrate that taking such steps would fundamentally alter the
19                        nature of the good, service, facility, privilege, advantage, or
20                        accommodation being offered or would result in an undue burden. 42
21                        U.S.C. § 12182(b)(2)(A)(iii).
22                  c.    A failure to remove architectural barriers, and communication barriers
23                        that are structural in nature, in existing facilities, and transportation
24                        barriers in existing vehicles and rail passenger cars used by an
25                        establishment for transporting individuals (not including barriers that
26                        can only be removed through the retrofitting of vehicles or rail
27                        passenger cars by the installation of a hydraulic or other lift), where
28                        such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).



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 1                  d.     A failure to make alterations in such a manner that, to the maximum
 2                         extent feasible, the altered portions of the facility are readily
 3                         accessible to and usable by individuals with disabilities, including
 4                         individuals who use wheelchairs or to ensure that, to the maximum
 5                         extent feasible, the path of travel to the altered area and the
 6                         bathrooms, telephones, and drinking fountains serving the altered
 7                         area, are readily accessible to and usable by individuals with
 8                         disabilities where such alterations to the path or travel or the
 9                         bathrooms, telephones, and drinking fountains serving the altered area
10                         are not disproportionate to the overall alterations in terms of cost and
11                         scope. 42 U.S.C. § 12183(a)(2).
12           21.    Where parking spaces are provided, accessible parking spaces shall be
13     provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
14     eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
15     (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
16     Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
17     be a van accessible parking space. 2010 ADA Standards § 208.2.4.
18           22.    Under the ADA, the method and color of marking are to be addressed by
19     State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
20     Building Code (“CBC”), the parking space identification signs shall include the
21     International Symbol of Accessibility. Parking identification signs shall be reflectorized
22     with a minimum area of 70 square inches. Additional language or an additional sign
23     below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
24     parking space identification sign shall be permanently posted immediately adjacent and
25     visible from each parking space, shall be located with its centerline a maximum of 12
26     inches from the centerline of the parking space and may be posted on a wall at the
27     interior end of the parking space. See CBC § 11B-502.6, et seq.
28




                                              COMPLAINT - 6
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 1           23.    Moreover, an additional sign shall be posted either in a conspicuous place at
 2     each entrance to an off-street parking facility or immediately adjacent to on-site
 3     accessible parking and visible from each parking space. The additional sign shall not be
 4     less than 17 inches wide by 22 inches high. The additional sign shall clearly state in
 5     letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
 6     designated accessible spaces not displaying distinguishing placards or special license
 7     plates issued for persons with disabilities will be towed away at the owner’s expense…”
 8     See CBC § 11B-502.8, et seq.
 9           24.    Here, Defendants failed to provide the sign stating, “Van Accessible.”
10     Moreover, Defendants failed to provide the additional sign with the specific language
11     stating “Unauthorized vehicles parked in designated accessible spaces not displaying
12     distinguishing placards or special license plates issued for persons with disabilities will
13     be towed away at the owner’s expense…”
14           25.    For the parking spaces, access aisles shall be marked with a blue painted
15     borderline around their perimeter. The area within the blue borderlines shall be marked
16     with hatched lines a maximum of 36 inches (914 mm) on center in a color contrasting
17     with that of the aisle surface, preferably blue or white. The words "NO PARKING" shall
18     be painted on the surface within each access aisle in white letters a minimum of 12 inches
19     (305 mm) in height and located to be visible from the adjacent vehicular way. CBC §
20     11B-502.3.3.
21           26.    Here, Defendants failed to provide a proper access aisle as there were no
22     “NO PARKING” markings and blue hatched lines painted on the parking surface.
23     Moreover, Defendants failed to provide the access aisle with the minimum width of 96
24     inches.
25           27.    Except as provided in 403.5.2 and 403.5.3, the clear width of walking
26     surfaces shall be 36 inches (915 mm) minimum. 2010 ADA Standards § 405.3.5.1.
27           28.    Here, the access route did not meet the minimum width requirement allowed
28     by the Standards.



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 1           29.      A public accommodation shall maintain in operable working condition those
 2     features of facilities and equipment that are required to be readily accessible to and usable
 3     by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
 4           30.      By failing to maintain the facility to be readily accessible and usable by
 5     Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
 6     regulations.
 7           31.      The Business has denied and continues to deny full and equal access to
 8     Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
 9     discriminated against due to the lack of accessible facilities, and therefore, seeks
10     injunctive relief to alter facilities to make such facilities readily accessible to and usable
11     by individuals with disabilities.
12                                   SECOND CAUSE OF ACTION
13                       VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
14           32.      Plaintiff incorporates by reference each of the allegations in all prior
15     paragraphs in this complaint.
16           33.      California Civil Code § 51 states, “All persons within the jurisdiction of this
17     state are free and equal, and no matter what their sex, race, color, religion, ancestry,
18     national origin, disability, medical condition, genetic information, marital status, sexual
19     orientation, citizenship, primary language, or immigration status are entitled to the full
20     and equal accommodations, advantages, facilities, privileges, or services in all business
21     establishments of every kind whatsoever.”
22           34.      California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
23     or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
24     for each and every offense for the actual damages, and any amount that may be
25     determined by a jury, or a court sitting without a jury, up to a maximum of three times the
26     amount of actual damage but in no case less than four thousand dollars ($4,000) and any
27     attorney’s fees that may be determined by the court in addition thereto, suffered by any
28     person denied the rights provided in Section 51, 51.5, or 51.6.



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 1           35.    California Civil Code § 51(f) specifies, “a violation of the right of any
 2     individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
 3     shall also constitute a violation of this section.”
 4           36.    The actions and omissions of Defendants alleged herein constitute a denial
 5     of full and equal accommodation, advantages, facilities, privileges, or services by
 6     physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
 7     Defendants have discriminated against Plaintiff in violation of California Civil Code §§
 8     51 and 52.
 9           37.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
10     difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
11     damages as specified in California Civil Code §55.56(a)-(c).
12                                    THIRD CAUSE OF ACTION
13                  VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
14           38.    Plaintiff incorporates by reference each of the allegations in all prior
15     paragraphs in this complaint.
16           39.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
17     entitled to full and equal access, as other members of the general public, to
18     accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
19     and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
20     railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
21     of transportation (whether private, public, franchised, licensed, contracted, or otherwise
22     provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
23     places of public accommodations, amusement, or resort, and other places in which the
24     general public is invited, subject only to the conditions and limitations established by
25     law, or state or federal regulation, and applicable alike to all persons.
26           40.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
27     corporation who denies or interferes with admittance to or enjoyment of public facilities
28     as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an



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 1    individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
 2    the actual damages, and any amount as may be determined by a jury, or a court sitting
 3    without a jury, up to a maximum of three times the amount of actual damages but in no
 4    case less than one thousand dollars ($1,000) and any attorney’s fees that may be
 5    determined by the court in addition thereto, suffered by any person denied the rights
 6    provided in Section 54, 54.1, and 54.2.
 7          41.    California Civil Code § 54(d) specifies, “a violation of the right of an
 8    individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
 9    constitute a violation of this section, and nothing in this section shall be construed to limit
10    the access of any person in violation of that act.
11          42.    The actions and omissions of Defendants alleged herein constitute a denial
12    of full and equal accommodation, advantages, and facilities by physically disabled
13    persons within the meaning of California Civil Code § 54. Defendants have
14    discriminated against Plaintiff in violation of California Civil Code § 54.
15          43.    The violations of the California Disabled Persons Act caused Plaintiff to
16    experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
17    statutory damages as specified in California Civil Code §55.56(a)-(c).
18                                 FOURTH CAUSE OF ACTION
19                 CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
20          44.    Plaintiff incorporates by reference each of the allegations in all prior
21    paragraphs in this complaint.
22          45.    Plaintiff and other similar physically disabled persons who require the use of
23    a wheelchair are unable to use public facilities on a “full and equal” basis unless each
24    such facility is in compliance with the provisions of California Health & Safety Code §
25    19955 et seq. Plaintiff is a member of the public whose rights are protected by the
26    provisions of California Health & Safety Code § 19955 et seq.
27          46.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
28    that public accommodations or facilities constructed in this state with private funds



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 1    adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
 2    Title 1 of the Government Code. The code relating to such public accommodations also
 3    require that “when sanitary facilities are made available for the public, clients, or
 4    employees in these stations, centers, or buildings, they shall be made available for
 5    persons with disabilities.
 6           47.    Title II of the ADA holds as a “general rule” that no individual shall be
 7    discriminated against on the basis of disability in the full and equal enjoyment of goods
 8    (or use), services, facilities, privileges, and accommodations offered by any person who
 9    owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
10    Further, each and every violation of the ADA also constitutes a separate and distinct
11    violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
12    award of damages and injunctive relief pursuant to California law, including but not
13    limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
14                                    FIFTH CAUSE OF ACTION
15                                          NEGLIGENCE
16           48.    Plaintiff incorporates by reference each of the allegations in all prior
17    paragraphs in this complaint.
18           49.    Defendants have a general duty and a duty under the ADA, Unruh Civil
19    Rights Act and California Disabled Persons Act to provide safe and accessible facilities
20    to the Plaintiff.
21           50.    Defendants breached their duty of care by violating the provisions of ADA,
22    Unruh Civil Rights Act and California Disabled Persons Act.
23           51.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
24    has suffered damages.
25                                      PRAYER FOR RELIEF
26           WHEREFORE, Plaintiff respectfully prays for relief and judgment against
27    Defendants as follows:
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 1          1.     For preliminary and permanent injunction directing Defendants to comply
 2    with the Americans with Disability Act and the Unruh Civil Rights Act;
 3          2.     Award of all appropriate damages, including but not limited to statutory
 4    damages, general damages and treble damages in amounts, according to proof;
 5          3.     Award of all reasonable restitution for Defendants’ unfair competition
 6    practices;
 7          4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
 8    action;
 9          5.     Prejudgment interest pursuant to California Civil Code § 3291; and
10          6.     Such other and further relief as the Court deems just and proper.
11                               DEMAND FOR TRIAL BY JURY
12          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
13    demands a trial by jury on all issues so triable.
14
15    Dated: March 19, 2025                   SO. CAL. EQUAL ACCESS GROUP
16
17
18                                            By:    _/s/ Jason J. Kim___________
                                                     Jason J. Kim, Esq.
19                                                   Attorneys for Plaintiff
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                                            COMPLAINT - 12
